                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 26 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

JOSE GUADALUPE ROSAS-ROSAS,                     No. 23-1840
                                                Agency No.
             Petitioner,                        A208-586-937

 v.                                             MEMORANDUM*

MERRICK B. GARLAND, Attorney
General,

             Respondent.

                     On Petition for Review of an Order of the
                         Board of Immigration Appeals

                           Submitted August 22, 2024**
                               Portland, Oregon

Before: WALLACH***, CHRISTEN, and HURWITZ, Circuit Judges.


       Jose Guadalupe Rosas-Rosas, a native and citizen of Mexico, petitions for

review of a decision of the Board of Immigration Appeals dismissing an appeal from



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      ***
             The Honorable Evan J. Wallach, United States Senior Circuit Judge
for the Federal Circuit, sitting by designation.
an order of an Immigration Judge (“IJ”) denying asylum, withholding of removal,

and protection under the Convention Against Torture (“CAT”).                Exercising

jurisdiction under 8 U.S.C. § 1252, we deny the petition.

      1.     Substantial evidence supports the denial of asylum and withholding

based on Rosas’s failure to demonstrate a nexus between membership in a particular

social group (“PSG”) and any past or feared future harm.               Rosas asserted

membership in a PSG of “Mexican young men who have resisted cartel gang

recruitment, with parents who refuse to pay for their protection,” but conceded that

his father paid the cartel twice. Moreover, the agency reasonably concluded “that a

person who resists gang recruitment is not a member of a cognizable particular social

group.”    See Ramos-Lopez v. Holder, 563 F.3d 855, 860–62 (9th Cir. 2009)

(rejecting similar PSG), abrogated on other grounds by Henriquez-Rivas v. Holder,

707 F.3d 1081, 1093 (9th Cir. 2013) (en banc).

      2.     Substantial evidence also supports the denial of CAT relief.           An

applicant seeking CAT relief must demonstrate “that it is more likely than not that

he or she would be tortured if removed,” 8 C.F.R. § 1208.16(c)(2), “by, or at the

instigation of, or with the consent or acquiescence of, a public official . . . or other

person acting in an official capacity,” id. § 1208.18(a)(1).        Substantial record

evidence supports the IJ’s determination—rendered after considering all record

evidence, including expert testimony—that “the government of Mexico continues to



                                         2                                    23-1840
fight against cartels” and would not acquiesce to torture. See Andrade-Garcia v.

Lynch, 828 F.3d 829, 836 (9th Cir. 2016) (“[G]eneral ineffectiveness on the

government’s part to investigate and prevent crime will not suffice to show

acquiescence.”).

      PETITION FOR REVIEW DENIED.




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